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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
JUDICIAL WATCH, INC.,                     )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )                  Case No. 1:15-cv-00687
                                          )
UNITED STATES DEPARTMENT OF STATE, )
                                          )
      Defendant.                          )
                                          )
__________________________________________)

                                  JOINT STATUS REPORT

       The parties submit this joint status report in anticipation of the August 22, 2016 status

conference. On August 5, 2016, the FBI completed its transmission to the State Department of

documents recovered by the FBI in the course of its investigation in connection with former

Secretary of State Hillary Clinton's use of a personal e-mail system during her time as Secretary

of State. State has voluntarily agreed to produce non-exempt agency records responsive to

plaintiff’s FOIA request contained in the information transmitted. The parties intend to negotiate

a proposed production schedule and will be prepared to provide more information at the August

22 status conference.

                                             Respectfully submitted,

                                             FOR PLAINTIFF:

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Date: August 12, 2016
